
In re George Beard and Walter E. Beard applying for writs of certiorari, mandamus and prohibition.
The petition of the realtor in the above entitled and numbered case having been duly considered.
*115It is ordered that a writ of certiorari issue herein, directing the Honorable J. R. Dawkins, Judge of the Third Judicial District, Court for the Parish of Union, to transmit to the Supreme Court of Louisiana, on or before the 7th day of October, 1966, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said. Court and the respondent through its attorney shall show cause, in this court, on the date aforesaid, at 11 o’clock A. M., why the relief prayed for in the petition of the relator should not be granted.
